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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 23-cr-00264-GKF-1
WAIVER OF MINIMUM TIME TO TRIAL
Daniel Lawrence Charba,
Defendant.

I, Daniel Lawrence Charba, have been informed in open Court of the provisions of the Speedy Trial
Act of 1974 and Amendments thereto, specifically, that trial shall not commence less than thirty days from the
date on which the defendant first appears through counsel unless he/she consents in writing to the contrary.

I do hereby freely and voluntarily consent to trial of the above-styled case on a date prior to the
expiration of thirty days from the date on which I first appeared through counsel, to-wit:
8/24/2023.

Date: 9/21/2023 4
Daniel Lawrence |} Defendant

Attorney for Defendant
Sa —,

a

Assistant United States Attorney
—)

Mark T. Steele, U.S. Magistrate Judge

Arraignment Change of Plea Magistrate Judge (11/2021)
